     Case 3:15-cr-00874-H Document 130 Filed 05/16/23 PageID.485 Page 1 of 1




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 6                          UNITED STATES DISTRICT COURT

 7                       SOUTHERN DISTRICT OF CALIFORNIA

 8   UNITED STATES OF AMERICA,                   Case No.: 15-cr-874-H

 9                      Plaintiff,

10         v.                                    ORDER OF DISMISSAL WITHOUT
                                                 PREJUDICE
11   HUMBERTO MEDRANO-
12   LIZARRAGA (2),

13                      Defendant.

14        Pursuant to the Motion of the United States, the Court hereby grants leave to
15 dismiss this case against Defendant HUMBERTO MEDRANO-LIZARRAGA (2)
16 without prejudice. The Court finds that the dismissal is based upon the United States’
17 Motion made in the interests of justice.
18      Accordingly, all charges are hereby DISMISSED without prejudice against
19 Defendant HUMBERTO MEDRANO-LIZARRAGA (2).
20      IT IS SO ORDERED.
21
          05/16/2023
22 DATED:______________                   ______________________________
23                                        Honorable Marilyn L. Huff
                                          United States District Judge
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